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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS
LIABILITY LITIGATION

 

This document relates to:

Gilmore v. Monsanto, Case No. 21-cv-08159

 

 

MDL No. 2741
Case No. 16-md-02741-VC

OBJECTION OF CAROL RICHARDSON
TO CLASS ACTION SETTLEMENT;
DECLARATION OF CAROL
RICHARDSON

Date: January 12, 2023

Time: 2:30 p.m.

Place: Via Zoom Webinar
Judge: Hon. Vince G. Chhabria
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OBJECTION OF CAROL RICHARDSON TO CLASS ACTION SETTLEMENT;
DECLARATION OF CAROL RICHARDSON IN SUPPORT THEREOF
I, Carol Richardson, declare as follows:

l. I have personal knowledge of all matters stated here and could competently testify
to them if called as a witness.

Zi I file this Objection to the proposed settlement and release of claims against
Monsanto for the sale of Roundup products, and in response to the requirements of the Notice
addressed “If You Purchased Certain Roundup, HDX, or Ace Weed & Grass Killer Products, you
May Be Entitled To a Cash Payment From A Proposed Class Action Settlement,” in the case called
Gilmore v. Monsanto, N.D. Cal., Case No. 21-cv-08159.

3: I am a citizen and resident of Missouri. I purchased one or more of the relevant
Roundup products at issue in this case that failed to disclose the risk of cancer and I believe this
violates Missouri law.

4, I am objecting on behalf of myself and all other Missouri purchasers to the proposed
settlement in this case because I believe this settlement is unreasonable, inadequate, and unfair to
the proposed class members, including myself. I am also objecting to the requested compensation
to Plaintiffs’ counsel in this case as grossly excessive in comparison to their inadequate
representation and very minimal work.

5. My objections to the settlement include all reasons that this settlement is
unreasonable, unfair and inadequate as explained in my Opposition to the Motion for Preliminary
Approval, ECF 106, filed by my counsel on March 3, 2022, and all reasons which will be included
in my opposition to Plaintiff's motion for final approval of the settlement to be filed according to

the Court’s schedule on December 5, 2022.
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6. I have never submitted an objection to a class settlement either for myself or for
anyone else.

7. My counsel noted above intends to appear on my behalf at the hearing on Plaintiff's
motion for final approval.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct and that this declaration was executed on December 5, 2022, at Kansas

(wp —$—

Carol Richardson

City, Missouri.
